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                 Exhibit O
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Via e-mail to: ahiscott@cooley.com


June 3, 2020

Ariana G. Hiscott
Cooley LLP
101 California Street, 5th floor
San Francisco, CA 94111

                                 Re: R80, LLC PersonaDoctors claims

Dear Ariana,

On behalf of our client Vitamin Packs, Inc. (“VP”), we are responding substantively to your
April 30, 2020 letter.

Your letter shares your client R80, LLC’s concerns that VP may be offering medical services
within the scope of R80’s rights, may be causing confusion and may be harming R80’s
reputation. You ask that we let you know what steps VP is willing to take to address R80’s
concerns.

Let me begin by reiterating that Vitamin Packs is itself a brand owner and respects others’
intellectual property rights as a matter of corporate policy. VP appreciates R80’s concerns
and has given them careful consideration even amidst the challenging environment of the
current global pandemic.

R80’s medical weight-loss clinics

You have not provided much contextual information about your client R80, which appears
to be a group of four doctors who operate six offices along roughly a 60-mile stretch of
the DMV (Washington D.C. metro) area, from a Baltimore suburb to northern Virginia.
Their PersonaDoctors® business and clientele appears confined to this limited geographic
region.

R80’s facilities do not appear to be general medical clinics, instead focusing specifically on
weight loss and anti-aging treatments. The tagline “lose weight–energize–feel younger”
appears Immediately beneath R80’s trademark on its signage and website.
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                              Banner from atop R80’s website promoting its services

PersonaDoctors’ website promotes its $175 Basic Weight Loss package, which includes
energy injections and “craving control medications,” and its $275 Complete Results
package, which includes Fat Burner B12 injections and Plateau Buster Shots. R80’s
business model appears to be selling ongoing monthly service plans to patients that
continue until cancelled, rather than particular treatment of specific ailments.
PersonaDoctors offers its 100% Money Back Weight Loss Guarantee to customers who
have not lost weight within 30 days.




                                         Image from R80’s main web page

R80’s 2014 federal trademark registration covers more broadly physician services,
medical physical evaluations and dispensing prescription pharmaceuticals in Class 44, as
well as cosmetic fat reduction procedures. It does not include nutritionist or
informational services.1

R80 is but one of many companies that use or have registered PERSONA trademarks in
connection with health, nutrition or medical goods and services. Your client’s
PersonaDoctors® weight loss clinics already coexist with PERSONA® weight loss personal
coaching services2, PERSONA DENTAL® dental services3, PERSONA® orthopedic joint

1
 We note also that R80’s registration covers its trademark in the form “PersonaDoctors,” with initial caps and the two
words conjoined. Your client’s website and signage also use the mark in this form. Your letter instead treats the mark
as two distinct words: PERSONA DOCTORS. For clarity’s sake, we use it herein as it appears in your client’s materials
and registration.
2
    U.S. Reg. No. 5,266,256
3
    U.S. Reg. No. 4,665,111, see personadental.com.
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implants4, PERSONA® medical hearing aids5, PERSONNA® surgical instruments6,
PERSONA® medical-grade LCD HD monitors for healthcare facilities7, PERSONALMD®
health seminars8 and PERSONALIS® medical testing services9, among others. Houston’s
PERSONA Medical Spa10 and St. Louis’ PERSONA Enrichment & Health Spa11 each also
offers its own weight reduction programs.

Your letter did not address why R80 appears to be more concerned about VP’s PERSONA™
vitamins and online retail store services than R80 is about others who provide PERSONA-
branded health care goods and services more closely related to R80’s core
PersonaDoctors business - or why R80 sees a likelihood of confusion here but not
elsewhere amongst these various PERSONA health businesses.

Vitamin Packs’ PERSONA™ nutrition business

Your letter mischaracterizes VP’s PERSONA nutrition business and offers contradictory
descriptions of it to support R80’s claims. You first minimize PERSONA as a mere “vitamin
and delivery service,” then inflate it to support your accusations that it is providing
unauthorized medical services. Neither view is accurate.

VP sources, rigorously tests and then delivers to customers’ doorsteps its PERSONA™
vitamins and supplements in individual single-day use packs, all via its website
(personanutrition.com). PERSONA™ vitamins and supplements are over-the-counter
nutritional products of the type regularly sold on store shelves at supermarkets,
drugstores, specialty nutrition stores, fitness centers and even convenience stores. VP,
however, sources its products through manufacturers trusted to use precise high-quality
ingredients and proprietary formulations that PERSONA’s expert medical advisory board
has designed. All are thoroughly tested for label requirements and possible
contaminants.


4
    U.S. Reg. No. 4,369.277
5
    U.S. Reg. No. 3,845.987, see personamedical.com.
6
    U.S. Reg. No. 1,421,801
7
    U.S. Reg. No. 4,839,133
8
    U.S. Reg. No. 2,391,139
9
 U.S. Reg. No. 4,918,369 We note that your own colleagues at Cooley secured this PERSONALIS registration for a
different client.
10
     See personamedicalspa.com
11
     See personastl.com.
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PERSONA is not a medical practice. It does not represent or imply that it is a medical
practice. It does not operate medical clinics nor prescribe medications. No PERSONA
products are prescription medications. PERSONA does not offer medical evaluations or
medical advice. PERSONA does not focus on bariatric goods or services.

Rather, PERSONA is a nutrition company. It offers nutritional information and advice. It
sells only its own PERSONA™ vitamin and supplement products, and only through its
PERSONA™ web site. It does not sell any other brands’ goods, nor any products other
than vitamins and supplements. Likewise, PERSONA™ vitamins and supplements can only
be purchased from its online store, and are not available from any other online store, nor
in any brick and mortar retail store.




                          Images from Vitamin Packs’ PERSONA web site

Several innovative features set PERSONA apart from other vitamin and supplement
retailers.

Most notably, PERSONA offers a personal assessment of each individual’s vitamin and
supplement needs based upon a detailed on-line questionnaire. Before purchasing any
product, each customer answers an extended series of questions comparable to the
intake forms that many health services use. PERSONA thereby gains information about
each customer’s goals, general health, age, gender, diet, allergies, lifestyle and even
prescription medications. PERSONA then cross-references this data against more than
2,500 prescription medications known to interact with nutritional supplements. These
include high blood pressure, cholesterol, diabetes and thyroid medications, birth control
pills and blood thinners, and are based upon current, published, peer-reviewed scientific
data compiled by PERSONA’s experienced medical advisory board.

PERSONA applies its proprietary algorithm to the data and recommends a daily regimen
of vitamins and nutritional supplements, specifying the nutritional basis for each vitamin
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or supplement recommended. PERSONA then delivers its products to each customer’s
home in daily, individually wrapped packs.




              Examples of PERSONA’s nutritional recommendations and daily vitamin packs

PERSONA’s algorithm was devised by its team of experienced doctors, dieticians,
nutritionists and pharmacists, some nationally-recognized, including the Chief Wellness
Officer of the respected Cleveland Clinic and author of several best-selling health books,
and the MLB-champion Washington Nationals’ team physician. PERSONA customers can
confer directly with PERSONA’s on-staff registered dietitians or nutritionists. PERSONA’s
web site also provides detailed information about each PERSONA vitamin and
supplement, common drug-nutrient interactions, and other nutritional information.




                          Sample informational pages from PERSONA’s website
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R80’s trademark concerns

Your letter contends that PERSONA nutrition products and online retail store services
create a likelihood of confusion with PersonaDoctors medical clinics. We disagree.

To begin with, our clients’ trademarks convey entirely different commercial impressions.
R80 and VP are but two of many businesses that use PERSONA marks in connection with
different goods and services in many distinct areas of the multi-faceted health and
nutrition industry.

R80 distinguishes its medical services trademark by including the conjoined word Doctors
immediately following Persona. VP distinguishes its PERSONA mark through prominent
use of VP’s highly distinctive fingerprint/silhouette logo, which often precedes PERSONA,
as shown below.12 This evocative logo suggests the highly-individual personalization at
the heart of PERSONA’s business. These features of each mark readily distinguish our
clients’ marks from each other, as well as from other PERSONA health-related marks.




           Our clients’ marks and those of a few other PERSONA health care-related businesses

In addition to their marks’ distinct commercial impressions, our clients also differ
markedly in their goods and services, sales and delivery channels, customers, geographic
reach and other factors.

VP offers vitamins, supplements and related information through its online retail website,
customized and delivered in daily packs to customers’ doorsteps. It is not a medical
practice, offers no medical treatments and operates no clinics. By contrast,
PersonaDoctors operates a bariatric medical practice in its six DC-area locations, offering
physical exams, medical treatments and tests, injections and prescription medications.
R80’s services are offered in ongoing monthly service plans of multiple office visits and



12
   VP’s Persona logo is itself protected by two United States trademark registrations (No. 5,676,752 (Class 5) and No.
5,676,753 (Class 35)), and is part of VP’s composite PERSONA & Design mark, for which three further applications are
currently pending before the USPTO.
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treatments. R80 focuses on weight loss and anti-aging treatments; VP’s products more
broadly address a fuller range of nutritional needs.

VP offers only its own PERSONA vitamins and supplements, and no pharmaceuticals. R80
apparently prescribes and sells prescription pharmaceuticals made by others, not R80,
and sells no ingestible vitamins or supplements.

The type of products that VP sells are widely available over the counter, and can be sold
online in full compliance with applicable laws. The medications that R80 sells appear to
be available only from pharmacists through a doctor’s prescription, and cannot lawfully
be sold online.

VP offers its PERSONA goods and services nationwide. R80’s PersonaDoctors medical
services are likely unknown to people outside of Washington D.C. and a few
neighborhoods of southern Maryland and northern Virginia. These and other factors
readily differentiate our clients, their marks, goods and services.

Your letter asks what steps VP might be willing to take to avoid confusion. As my May 6,
2020 letter noted, our clients have used their respective marks concurrently for nearly
two full years. Unsurprisingly, we have not encountered any confusion during this period
- even within R80’s limited market area. The significant differences discussed above have
already proven amply sufficient to prevent confusion. 13

We thus see little need for either party to take further steps to avoid something that is
neither present nor likely. Nonetheless, out of respect for your client as a fellow brand
owner, we would be willing to entertain any reasonable and warranted suggestions that
R80 may wish to offer.

R80’s false advertising concerns

Your letter asserts that VP’s advertising is misleading. Here again, we disagree.

You complain that PERSONA presents each individual customer’s vitamin and nutrient
recommendations as either “doctor-approved,” the result of individual medical
consultation, or as “a valid substitute” for an in-person medical assessment. Your claims
misrepresent PERSONA’s words. The statement upon which you rely (“our experts cut
through the hype and confusion with doctor-approved recommendations”) refers


13
   Had R80 encountered any actual confusion, we are confident that your thorough April 30, 2020 letter would have
detailed it. The R80 patient(s) that you report having brought VP’s PERSONA vitamins or service to R80’s attention
apparently recognized that these do not emanate from the same entity, and thus did not evidence confusion for
trademark purposes.
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generally to health information that PERSONA’s web site offers, not to each individual
customer’s vitamin recommendation.

PERSONA’s web site indicates quite clearly that it is a nutrition support company and not
a medical company. It also accurately notes that its vitamin and supplement
recommendations are based upon current, published and peer-reviewed scientific data.
It clearly identifies all members of its advisory board, their qualifications, and the role that
each plays in PERSONA’s informational and retail vitamin goods and services. And each
PERSONA recommendation and shipment instructs customers: “As with any dietary
supplement, you should advise your healthcare practitioner of the use of this product.”

In no manner does PERSONA present itself as offering medical services. Consumers today
have access to a wide range of nutritional recommendations from many sources. Most
consumers purchasing vitamins and supplements at stores receive far less information
about products and potential interactions with their current medications than those that
PERSONA provides to inform it customers. The beneficial role that PERSONA’s innovative
nutritional guidance plays in improving its customers’ health does not make it a medical
care business.

R80’s reputational concerns

Finally, your letter emphasizes R80’s concerns that PERSONA’s business might damage
PersonaDoctors’ reputation. As discussed above, VP’s PERSONA vitamin venture is
neither offering unauthorized medical services nor being (nor likely to be) confused with
PersonaDoctors localized weight loss clinics. We thus see little risk that consumers might
view either party as responsible for the other’s conduct.

Your concern, however, invited our review of PersonaDoctors’ own reputation. We note
that R80 has faced significant consumer complaints about both PersonaDoctors’ business
practices and medical services. VP understands how additional complaints could be
troublesome. But VP does not see a risk that R80’s business will be confused with VP’s,
or that any complaints about VP might be imputed mistakenly to R80.

Conclusion

Our clients are but two of many companies using trademarks featuring the word persona
in connection with various nutrition, health or medical services. The marked differences
between our clients’ respective trademarks, goods, services, consumers, sales channels,
geographic scope and customers’ needs have been amply sufficient to negate any
confusion, as the last two years have clearly shown. While we appreciate R80’s concerns,
VP respectfully considers them largely unwarranted.
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Thank you again for your client’s patience as we assembled this reply amidst our
challenging global pandemic. As you can see, VP has reviewed R80’s concerns thoroughly
and responded in considerable detail. We trust that our response has addressed your
concerns. We will consider the matter closed unless we hear further from you.

Very truly yours,

/Kenneth M. Kwartler/

Kenneth M. Kwartler
